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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION



 JOHN DOE,                                           CASE NO. 1:20-CV-123-JRS-DML

                Plaintiff,

        v.                                           PLAINTIFF’S NOTICE OF
 INDIANA UNIVERSITY, PROVOST                         WITHDRAWAL OF MOTION FOR
 LAUREN ROBEL, KATHY ADAMS-                          EXPEDITED DISCOVERY
 REISTER, LIBBY SPOTTS, ROBERT
 BILLINGHAM, MICHAEL COURTNEY
 AND GRANT VOGTMAN,


                Defendants.




        Plaintiff John Doe (“plaintiff”) hereby gives notice that he is withdrawing his Motion for

 Expedited Discovery filed on January 14. ECF 5.

        On January 14, plaintiff John Doe (“plaintiff”) filed a Motion for Temporary Restraining

 Order and Injunctive Relief (“TRO Motion”). ECF 1. At the same time, he filed a Verified

 Complaint and Motion for Expedited Discovery. ECF 2, 5. The following afternoon, January 15,

 the Court held a scheduling conference in this newly-filed case. The Court deferred ruling on

 plaintiff’s TRO Motion, ordered further briefing on the matter and set the hearing on plaintiff’s

 TRO Motion for February 11.

        When the Court identified the hearing date, undersigned counsel informed the Court that

 it would not be necessary to rule on plaintiff’s Motion for Expedited Discovery because any

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 discovery, if needed, would be gathered for purposes of a subsequent preliminary injunction

 hearing. There is no need for discovery for purposes of ruling on plaintiff’s TRO Motion.

 Accordingly, plaintiff withdraws his earlier-filed Motion for Expedited Discovery.


                                             Respectfully submitted,

                                             /s/ Eric J. Rosenberg
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing PLAINTIFF’S NOTICE OF

 WITHDRAWAL OF MOTION FOR EXPEDITED DISCOVERY was served by email on the

 counsel for defendant Indiana University and the individual defendants on January 17, 2020:

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 CERTIFICATE OF SERVICE
